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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )             8:04CR457
                      Plaintiff,             )
                                             )
       vs.                                   )               ORDER
                                             )
KOREAN MCLEMORE,                             )
                                             )
                      Defendant.             )

       At the initial appearance of the defendant on the charges contained in the petition on file,
the United States moved to detain the defendant without bail pending disposition on the basis
that he was a flight risk and a danger to the community. At the time of his initial appearance
before the court, the defendant was in the custody of Nebraska state authorities on state
charges. Accordingly,
       IT IS ORDERED:
       The government's motion for detention of Korean Mclemore pursuant to the Bail Reform
Act is held in abeyance pending the defendant's coming into federal custody.
       IT IS FURTHER ORDERED:
       The defendant, Korean Mclemore, having received notice of his return to the custody of
Nebraska state authorities pending the disposition of this matter and having waived an
opportunity for hearing in this matter pursuant to the Interstate Agreement on Detainers, 18
U.S.C. app § 9(2), the U.S. Marshal is authorized to return the defendant, Korean Mclemore,
to the custody of Nebraska state authorities pending the final disposition of this matter and the
U.S. Marshal for the District of Nebraska is directed to place a detainer with the correctional
officer having custody of the defendant.
       DATED this 5th day of August, 2009.
                                                     BY THE COURT:
                                                     s/ Thomas D. Thalken
                                                     United States Magistrate Judge
